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                                        172282




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  Via ECF

  January 30, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re: In re: Johnson & Johnson Talcum Powder Products
      Marketing, Sales Practices and Products Liability Litigation -
      MDL 2738

  Dear Magistrate Judge Singh:

        I write on behalf of the defendants in connection with the PSC Motion for a
 Protective Order Regarding Subpoena Directed to Northwell Health, Inc. (ECF
 28913). On January 29, 2024, the PSC filed a reply brief (ECF 28952) in violation
 of Loc. Civ. R. 37.1(b)(3). We ask, therefore, that the reply brief be stricken. In
 the alternative, we seek permission to file the attached sur-reply brief in order to
 respond to the arguments in the reply. In addition, we believe oral argument
 would be helpful and request that the Court hear oral argument of the motion at the
 case management conference on February 7, 2024, or at some other time
 convenient for the Court.

           Thank you for your consideration of these matters.


                                            Respectfully,

                                            /s/ Susan M. Sharko
                                            Susan M. Sharko
                                            FAEGRE DRINKER BIDDLE & REATH LLP
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 SMS/scg
 Encl: (1)
 Cc: All counsel via ECF
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